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Attorneys for the Motors Liquidation
Company Avoidance Action Trust

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
In re:
                                                                           Chapter 11
MOTORS LIQUIDATION COMPANY, f/k/a
GENERAL MOTORS CORPORATION, et al.,                                        Case No. 09-50026 (MG)
                                                                           (Jointly Administered)

                                                   Debtors.
-----------------------------------------------------------------------x
MOTORS LIQUIDATION COMPANY AVOIDANCE
ACTION TRUST, by and through the Wilmington Trust
Company, solely in its capacity as Trust Administrator and
Trustee,
                                                                           Adversary Proceeding
                                                     Plaintiff,
                                                                           Case No. 09-00504 (MG)
                                against

JPMORGAN CHASE BANK, N.A., et al.,

                                                      Defendants.
-----------------------------------------------------------------------x

                              NOTICE OF PRE-MOTION CONFERENCE

        PLEASE TAKE NOTICE that a Pre-Motion Conference is scheduled for August 9, 2018,

at 10:00 a.m. (Eastern Time) before the Honorable Judge Martin Glenn, United States

Bankruptcy Judge, in Room 523 of the United States Bankruptcy Court for the Southern District

of New York, One Bowling Green, New York, New York 10004.
                                                          1
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        PLEASE TAKE FURTHER NOTICE that Counsel for all parties may participate in the

 conference telephonically via CourtCall. Reservations for participation should be made in

 advance by calling CourtCall at (888) 882-6878. Counsel appearing telephonically should be on

 the telephone by no later than 9:45 a.m. to make their appearance on the record, identifying

 counsel’s name and each party on whose behalf counsel is appearing, so that the conference may

 commence promptly at 10:00 a.m.

Dated: August 7, 2018
       New York, New York

                                               Respectfully submitted,

                                               BINDER & SCHWARTZ LLP

                                               /s/ Eric B. Fisher
                                               Eric B. Fisher
                                               Neil S. Binder
                                               Lindsay A. Bush
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